-32

iN State of New York ,
APPLICATION FOR APPROVAL OF CORPORATE CHANGE

i Liquor Authority

there are fewer than 10 stockholders, any change in stock-holdings, or (3) where there are 10 or more stockholders, any change involving 10% or more of the stock or any change
in stock-holdings which would increase the holdings of any one stockholder to 10% or more of the stock.

Such change cannot become effective under tle Alcoholic Beverage Control Law until permission has been granted by the State Liquor Authority.
Therefore, it is recommended that any change be made conditional upon approval by the State Liquor Authority.

Section A

Serial Number |1039547 County |QUEENS Telephone # [516-348-3570

Full Name of Licensee as listed on the License |INDIAN TAJ INC.

Trade Name (DBA) as listed on the License Certificate |SANTOOR INDIAN RESTAURANT

Complete Address of Licensed Premises including Zip |257-05 UNION TPKE, GLEN OAKS, NY 11004

Post Office/Mailing Address, if different than premises RE, Amn.
oA
~ AW 21 ayy
tate
Name of Contact. [NEHAL TRIVEDI © Attorney © Representative © Contact

Office Address —|400 JERICHO TURNPIKE, SUITE 318

City |JERICHO State [NY Zip Code {11753

Telephone Number of Office (Include Area Code) [516-470-1379

E-mail Address (if available) jnmtrivedi@optonline.net , Py nome
Submit a completed Notice of Appearance RV Oxo oar fritoriy
Section B JUN 1 4 2013
Change Requested: Check all that apply Alvony, AY
Licensing Bureau
New stockholding(s)/stockholder(s). (] The removal of officer(s)/director(s/member(s).

(L) Appointment of new officer(s)/director(s)/member(s). (_] Death of officer(s)/director(s)/member(s)/stockholder(s).

1. How was the interest acquired in the Corporation/LLC? |INVESTMENT

2. Are there any other licenses held in New York under this

corporation/LLC? If yes, list all serial numbers. NO

Revised 10/23/12, Application Page 1
| RedtionC: Identification of Individuals

Part 1. List below the names of all LLC members/managers, officers, directors and individual stockholders, that are

currently licensed to hold an interest in the subject license, attach additional sheets if necessary. (Current Approved
Corporate Set-Up)

Name Current Title(s) Current of Interest Current Number of Shares
|HARMINDER SINGH | |PRESIDENT | 100% | 200 SHARES |

| | | JE
Ee || |
L | | JI
| | || }|
IL | __ tI |

Part 2. List below the names of all LLC members/managers, officers, directors and individual stockholders, who. will
have an interest in the subject license upon approval of this corporate change, attach additional sheets if necessary.

(Proposed Corporate Set-Up)

Name Proposed Title(s) Proposed of Interest Proposed # of Shares Nan
|HARMINDER SINGH | [PRESIDENT | |25% | {50 | O
[MEHANGA SINGH | SECRETARY | [25% | {50
|KIRPAL SINGH | [TREASURER | |25% | [50
JJOGINDER SINGH | |VICE PRESIDENT | |25% | |50 | &l
| IC | i jo
| | | ic 9

All parties listed in Part 2 and are NEW to the corporation/LLC must complete a Personal Questionnaire as well as submit an
original color photo, photo ID and proof of citizenship for themselves. The forms are available for download on our web site

at: www.sla. My. gov

ALL APPLICANT PRINCIPALS WILL BE REQUIRED TO BE FINGERPRINTED ELECTRONICALLY
NOTE: Persons CURRENTLY licensed by the State Liquor Authority do not have to be fingerprinted.

Each applicant required to be fingerprinted will be instructed to contact L-] Enrollment Services after the successful submission of your
applications. The fee for electronic fingerprinting will be paid directly to L-1 Enrollment Services when you are fingerprinted.

Each new principal is bound by the Method of Operation previously approved by the NYS Liquor Authority.

Note: For any of the above, if financing is involved, please supply copies of contracts, agreements or any other legal document and financial
statements showing the availability of the funds.

Revised 10/23/12, Application Page 2 [| Print Form |

Section D:, 2.4

The licensee represents that there have been no changes other than those set forth herein, in any of the facts required to be set
forth in the application for license, and agrees that any application filed by it or by any of its officers, directors or stockholders,
for any license or permit under the Alcoholic Beverage Control Law, and the occupation record submitted herewith, shall be
deemed and made a part hereof and considered by the Authority in acting upon this Application for Approval of Corporate
Change.

I/We, the Applicant(s) also certify that all papers filed in support of this application or any application filed under the Alcoholic
Beverage Control Law by any person having an interest, direct or indirect, either in the business to be licensed or any license or
permit shall be deemed a part hereof and considered by the State Liquor Authority in acting upon this application.

I/We understand that the information I/we submit will be relied on by the State Liquor Authority in acting on this application. I/
we understand that any false statements or misrepresentations shall constitute sufficient cause for the disapproval of the
applications and/or revocation, cancellation or non-renewal of any license which is issued or affected as a result of such
application.

I/We verify that all of the above statements are true. If any of the above information changes prior to receipt of the license or
approval of the corporate change, I/we will notify the Authority by registered or certified mail within 48 hours. If any changes
occur after the issuance of the license or approval applied for, I/we understand that failure to give the required notice may
constitute a violation of Section 110 of the Alcoholic Beverage Control Law and/or Rule 36.1(j) of the State Liquor Authority and
will result in proceedings to revoke, cancel or suspend such license.

I/We, the Applicant(s) certify that there are no financial transactions involved concerning the license applied for EXCEPT as
described herein.

certifies that he is |

Hasmindex Swag President

(Print Name) (Title)

of the above named licensee; that he knows the contents of the above application and the statements and answers therein; that the
same are true of his own knowledge that he has been authorized by order of the Board of Directors of said licensee to make the
statements and answers therein in behalf of said licensee with the same force and effort as if said licensee made such statements
and answers itself.

5130113 | y Marwomben your
Dated (Signature of Currently Authorized Officer)

certifies that he is to be
Kixpal Grok Trequsurey

\
(Print Nate) (Title)

of the above named licensee; that he knows the contents of the above application and the statements and answers therein; that the
same are true of his own knowledge. Capen ee

wee creetaty
S]30l>
Dated JUN 2 4 2013 (Signatur¢ of Proposed orized Officer)
OFFICE USE ONLY: Roa, nT

Licens”2,. OTB au

Approved or Disapproved License Board Member Dated

Revised 05/01/13, Application Page 3
-32

al By, State olNew York ,
} 4 ‘ APPLICATION FOR APPROVAL OF CORPORATE CHANGE

| Liquor Authority

Use this Form for changes in the corporate set up caused by:
1. Appointment of new officer(s)/director(s)/member(s).
2. New stock-holdings or stockholder(s). RECEIVED
3. The removal of officer(s)/director(s)/member(s)/stockholder(s). JUN 91 2013
4. Death of officer(s)/director(s)/member(s)/stockholder(s).
UCENSING By
DO NOT USE THIS FORM: —
1. As an application to change the type of license you currently hold. (Class Change Application)
2. Asan application to remove your licensed business to a new location. (Removal Application)
3. Asan application to appoint a new ABC Officer. (ABC Officer Application)
4. Asan application to change from a Partnership to a Corporation/LLC or from a Corporation/LLC to a Partnership.
(New Application)
As an application to reflect the death of a Licensee (individual or partner). (Endorsement Application)
As an application to reflect court appointments of representative. (Endorsement Application)
As an application to reflect the dissolution of Partnership or Addition of Partner. (Endorsement Application)
As an application to reflect name changes due to Marriage or Divorce. (Endorsement Application)
As an application to change from a Sole Proprietorship to a Corporation/LLC. (Endorsement Application)

own AM

The application for Approval of Corporate Change must be completed and accompanied by the appropriate documentation as listed in the

instructions portion below as well as a check or money order in the amount of $128, payable to the New York State Liquor Authority.
(The Law does not provide for any refund of corporate change fees.)

Mail application to: New York State Liquor Authority, Church Street Station, PO Box 3817, New York, NY 10008-3817.

INSTRUCTIONS:

1) Submit a certified check, bank check, money order, or personal check payable to the New York State Liquor Authority for the
amount of $128.

2) Complete ALL sections of the application.

3) In Section B, indicate the change requested.

4) In Section C, list all officers, directors, LLC Members, LLC Managers, stockholders, etc. as indicated in such section.

5) In Section D, read the contents thoroughly; both the currently authorized principal and the proposed authorized principal must
sign and date this section.

ALL Corporate Change applications must be accompanied by the following documentation:

1) Agreement of Purchase & Sale if change in stock-holdings and/or Corporate Minutes showing the appointment/change of any
officer and/or director, and/or stockholder and/or LLC Member/Manager.

2) If there was a Death of an officer/director/member/stockholder, submit a copy of the Death Certificate as well as any Letters
of Testamentary/Administration and Last Will & Testament, if available.

3) A Personal Questionnaire must be submitted for each new person who is to be an officer and/or director, and/or stockholder
and/or LLC Member/Manager as well as proof of citizenship, photo ID and a recent original color photo as well as fingerprint
submission. (Forms are available for download on our website: www.sla.ny.gov ).

4) Completed Applicant's Statement for each new principal.

5) Statement of Finances (Form 180-021B) if change in stock-holdings. List assets pertaining to new investment and new
investors.

6) Proof of Finances as stated in Form 180-021B.

7) Pursuant to Section 110-b, if the applicant is located within the City of New York and licensed pursuant to Section 55, 55a,
64, 64a, 64c, 64d, 81 or 81a (on-premise licensees), an applicant shall notify the community board in which the premises is
located of such applicant's intent to file an application for approval of a substantial corporate change.*

*'Substantial corporate change' means a change in eighty percent (80%) or more of the officcrs and/or directors, LLC Managers/Members, stockholders, or an
cxisting stockholder or member obtaining a cumulative of eighty percent (80%) or more of the stock of a corporation or ownership interest in said company.
Such notification shall be on a standardized form from the Liquor Authority and be made by: certified mail, return reccipt requested; overnight delivery
service with proof of mailing; or personal service upon the officcs of the community board not thirty days before filing any such application.

Revised 10/23/12, Instruction Page I Print Form - |

